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17                                UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                       SAN FRANCISCO DIVISION
20

21   IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
     ANTITRUST LITIGATION                            MDL No. 1917
22
                                                     THOMSON SA’S NOTICE OF MOTION
23   This Document Relates to:                       AND MOTION TO DISMISS SHARP’S
                                                     FIRST AMENDED COMPLAINT
24   Sharp Electronics Corp., et al. v.
     Hitachi, Ltd., et al., No. 13-cv-01173.         Date: February 7, 2013
25                                                   Time: 10:00 A.M
                                                     Place: Courtroom 1, 17th Floor
26                                                   Judge: Hon. Samuel Conti
27

28
     NOTICE OF MOTION AND MOTION TO DISMISS                            No. 07-5944-SC; MDL No. 1917
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that on February 7, 2013 at 10:00 a.m. or as soon thereafter as
 3   this matter may be heard before the Honorable Samuel P. Conti, Senior U.S. District Court Judge,
 4   U.S. District Court for the Northern District of California, Courtroom No. 1, 17th Floor, 450
 5   Golden Gate Avenue, San Francisco, California 94102, the moving Defendant listed on the
 6   signature page below will and hereby does move this Court, in accord with Federal Rules of Civil
 7   Procedure 12(b)(2) and 12(b)(6), for an Order dismissing with prejudice the claims alleged by
 8   Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of
 9   America, Inc. (“Sharp”) against the moving Defendant in Sharp’s First Amended Complaint.
10          This Motion is based on this Notice of Motion and Motion, the accompanying
11   Memorandum of Points and Authorities in support thereof, the pleadings and correspondence on
12   file with the Court, and such arguments and authorities as may be presented at or before the
13   hearing.
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2          In accord with Fed. R. Civ. P. 12(b)(2) and 12(b)(6), Thomson SA appears for the purpose
 3   of respectfully moving to dismiss the claims asserted against it by Sharp Electronics Corp. and
 4   Sharp Electronics Manufacturing Co. of America, Inc. (collectively, “Sharp”) for lack of personal
 5   jurisdiction and for failure to state a claim upon which relief can be granted.
 6                                       ISSUES TO BE DECIDED
 7          1.      Whether Sharp’s claims against Thomson SA should be dismissed pursuant to
 8   Rule 12(b)(2) on the ground that this Court lacks personal jurisdiction over Thomson SA, a
 9   holding company headquartered and incorporated in France, because Thomson SA lacks the
10   requisite minimum contacts with the United States, does not possess an agency relationship with
11   its United States subsidiary, Thomson Consumer, Inc. (“Thomson Consumer”), and has not
12   purposefully directed activities related to Plaintiffs’ claims towards the United States?
13          2.      Whether Sharp’s claims against Thomson SA should be dismissed because they
14   are barred by the doctrine of laches?
15          3.      Whether Sharp’s claims against Thomson SA are time-barred under the applicable
16   statutes of limitations and whether Sharp has failed to plead any basis for tolling the statutes of
17   limitations applicable to its claims?
18          4.      Whether Sharp’s claims against Thomson SA should be dismissed for failure to
19   state cognizable claims?
20                                           INTRODUCTION

21          Sharp asks this Court to exercise personal jurisdiction over Thomson SA, a French
22   holding company with its principal place of business in Issy-les-Moulineaux, France that has
23   never maintained offices in the United States and has never manufactured or distributed CRTs or
24   CRT products in the United States. Although Sharp has complete access to the voluminous
25   discovery record in this case, in its First Amended Complaint (“FAC”), Sharp has failed, once
26   again, to plead facts that establish Thomson SA is subject to the personal jurisdiction of this
27   Court. Specifically, it has failed to plead facts that establish: (1) Thomson SA had continuous
28   and systematic contacts with the United States such that it is subject to general jurisdiction in this
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 1   forum; (2) Thomson SA actually exerted control over the day-to-day operations of Thomson
 2   Consumer in the United States so that it possessed an agency relationship with its United States
 3   subsidiary; and (3) Thomson SA took any intentional acts purposefully directed at the United
 4   States. In fact, as established by affidavits attached to this Motion, Thomson SA is not subject to
 5   personal jurisdiction in this forum because it never manufactured or sold CRTs or CRT products
 6   in the United States and it never directed Thomson Consumer to set particular prices for the CRTs
 7   that entity manufactured and sold in the United States. Because these critically important facts
 8   directly controvert the vague and unsubstantiated jurisdictional allegations in Sharp’s FAC, the
 9   Court should not accept as true Sharp’s conclusory allegations here. See Data Disc, Inc. v. Sys.
10   Tech. Assocs., Inc., 557 F.2d 1280, 1284 (9th Cir. 1977). Simply stated, Sharp has failed to plead
11   facts that establish a prima facie case that Thomson SA is subject to general or specific
12   jurisdiction. Accordingly, Sharp’s claims against Thomson SA should be dismissed for lack of
13   personal jurisdiction.
14          In addition, even if Thomson SA is subject to this Court’s personal jurisdiction, Sharp’s
15   claims against it should be dismissed for the same reasons expressed in the Motion to Dismiss
16   filed concurrently herewith by Thomson SA’s wholly-owned subsidiary, Thomson Consumer.
17   (See generally, Thomson Consumer’s Notice of Motion and Motion to Dismiss Sharp’s FAC.)
18   Sharp’s claims against Thomson SA: (1) are inexcusably late and barred by the doctrine of
19   laches; (2) are time-barred under the applicable statutes of limitations and Sharp has failed to
20   plead a basis for tolling its claims; and (3) otherwise fail to state cognizable claims. Sharp’s
21   claims against Thomson SA should be dismissed with prejudice.
22                                    FACTUAL BACKGROUND
23          At all times relevant to Sharp’s claims, Thomson SA was a holding company
24   headquartered and incorporated in France. As it stated in a 13D filing it made with the Securities
25   and Exchange Commission (“SEC”) on February 7, 2000, “Thomson SA principally acts as a
26   holding company for the French government. All of the outstanding shares of Thomson SA are
27   owned by the French Government.” (Feb. 7, 2000 13D Filing at 4, attached as Ex. 1.) Although
28   the French Government has since sold its shares, during all relevant periods, Thomson SA
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 1   remained a French holding company. (See 2009 Declaration of Frederic Rose at ¶ 3, Ex. 2
 2   (“Thomson is the holding company for a group of approximately 200 direct and indirect
 3   subsidiaries in approximately 30 countries. Thomson’s principal office is located at 1-5, rue
 4   Jeanne d’ Arc, 92130 Issy-les-Moulineaux, France.”); (Cadieux Decl. at ¶ 5, attached as Ex. 3.)
 5          It also is uncontroverted that, at all relevant times, Thomson SA was not a manufacturer.
 6   “Thomson SA has never manufactured cathode ray tubes (“CRTs”) or finished products
 7   containing CRTs in the United States or elsewhere.” (Id. at ¶ 14.) In addition, “Thomson SA has
 8   never marketed, sold, or distributed CRTs or finished products containing CRTs in the United
 9   States or elsewhere.” (Id. at ¶ 15.) Instead, because it is and was merely a holding company,
10   Thomson SA’s “principal assets are the stock of its subsidiaries.” (Ex. 2 at ¶ 4.) Thomson SA
11   performed the activities of a traditional holding company − it “principally perform[ed] corporate
12   activities (such as finance, communications, legal, human resources)” and obtained “external
13   financing” and “advance[d] the funds obtained to its subsidiaries through loans and current
14   account contracts.” (Thomson Group 2008 Form 20-F, Ex. 4 at 152.)
15          Thomson SA did not control the day-to-day activities or involve itself in the management
16   of its United States subsidiary, Thomson Consumer.        (Ex. 3 at ¶ 21.)    Instead, “Thomson
17   [Consumer] control[ed] its day-to-day activities,” maintained “separate” finances, and was
18   “responsible for the sales and marketing of products in the United States.” (Sept. 28, 2005
19   Declaration of Thomson Consumer President Michael O’Hara at ¶¶ 5-7, Ex. 5 (attached to
20   Thomson SA’s Reply in Support of Mot. to Dismiss, Audio MPEG, Inc. v. Thomson Inc., et al.,
21   Case No. 1:05 cv 565 (E.D. Va.)).)         “Thomson SA d[id] not direct or advise Thomson
22   [Consumer] on how to sell or distribute any Thomson [Consumer] product in the United States.”
23   (Sept. 2, 2005 Declaration of Thomson SA General Secretary Marie-Agne Debon at ¶ 6, Ex. 6
24   (attached to Thomson SA’s Mot. to Dismiss, Audio MPEG, Inc. v. Thomson Inc., et al., Case No.
25   1:05 cv 565 (E.D. Va.)).) Moreover, “Thomson SA and Thomson [Consumer] maintain[ed]
26   separate corporate structures, including separate boards, separate management, . . . separate
27   employees,” and separate finances. (Id. at ¶¶ 4-5.)
28
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 1          Thomson SA was a traditional holding company organized to hold the stock of its
 2   subsidiaries.   It did not manufacture CRTs, control the day-to-day operations of Thomson
 3   Consumer, involve itself in its U.S. subsidiary’s management, or otherwise take acts directed at
 4   the United States related to Sharp’s allegations.       Accordingly, consistent with fundamental
 5   principles of due process, it is not subject to the general or specific jurisdiction of this Court. See
 6   Doe v. Unocal Corp., 248 F.3d 915, 930 (9th Cir. 2001); Schwarzenegger v. Fred Martin Motor
 7   Co., 374 F.3d 797, 806-7 (9th Cir. 2004).
 8                                               ARGUMENT
 9   I.     SHARP’S CLAIMS AGAINST THOMSON SA SHOULD BE DISMISSED
            BECAUSE THIS COURT LACKS PERSONAL JURISDICTION OVER IT.
10

11          Sharp “has the burden of establishing that jurisdiction exists.” Flynt Distrib. Co., Inc. v.
12   Harvey, 734 F.2d 1389, 1392 (9th Cir. 1984); Harris Rutsky & Co. Ins. Servs., Inc. v. Bell &
13   Clements Ltd., 328 F.3d 1122, 1128-29 (9th Cir. 2003). Sharp’s FAC should be dismissed if it
14   fails to make a prima facie showing of personal jurisdiction. See Fields v. Sedgwick Associated
15   Risks, Ltd., 796 F.2d 299, 301 (9th Cir. 1986). And, Sharp’s allegations are not accepted as true
16   if they are contradicted by a sworn declaration. See Mavrix Photo, Inc. v. Brand Techs., Inc., 647
17   F.3d 1218, 1223 (9th Cir. 2001).
18          The Court can exercise personal jurisdiction over a non-resident defendant only where
19   doing so is consistent with the Due Process Clause, which requires that the defendant have such
20   minimum contacts with the forum that “the maintenance of the suit does not offend ‘traditional
21   notions of fair play and substantial justice.’” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316
22   (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)). In order to satisfy the Due Process
23   Clause, Sharp must demonstrate that either: (a) Thomson SA has such substantial contacts with
24   the United States that it is effectively “physical[ly] presen[t]” and therefore subject to general
25   jurisdiction here; or (b) Thomson SA has a sufficient connection to the alleged misconduct
26   through acts in or purposefully directed at the forum to establish specific jurisdiction for the

27   purposes of this litigation. See Bancroft & Masters, Inc. v. Augusta Nat’l, Inc., 223 F.3d 1082,

28   1086 (9th Cir. 2000). Sharp has not met its burden.
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 1             A.       The Court Does Not Have General Jurisdiction Over Thomson SA Based
                        on Thomson SA’s Own Contacts, Because It Did Not Have Continuous
 2                      and Systematic General Business Contacts With the United States That
                        Approximated Physical Presence in the Forum.
 3

 4             For general jurisdiction to exist over a foreign corporation like Thomson SA, it must

 5   “engage in continuous and systematic general business contacts that approximate physical

 6   presence in the forum state.” Schwarzenegger, 374 F.3d at 801 (internal quotations and citations

 7   omitted); see also Goodyear Dunlop Tires Operations v. Brown, 131 S. Ct. 2846, 2851 (2011). In

 8   other words, the plaintiff must show that the defendant’s “continuous corporate operations within

 9   [the] state are . . . so substantial and of such a nature as to justify suit against the defendant on

10   causes of action arising from dealings entirely distinct from those activities.” Tuazon v. R.J.

11   Reynolds Tobacco Co., 433 F.3d 1163, 1169 (9th Cir. 2006); see also N. Am. Lubricants Co. v.

12   Terry, No. 11-1284, 2012 WL 1108918, at *5 (E.D. Cal. Apr. 2, 2012) (stating that general

13   jurisdiction may only be established by “a showing of substantial operations in the [United

14   States], marked by longevity, continuity, volume, economic impact, physical presence, and

15   integration into the [nation’s] markets.”). “This is an exacting standard, as it should be, because a

16   finding of general jurisdiction permits a defendant to be haled into court in the forum state to

17   answer for any of its activities anywhere in the world.” Schwarzenegger, 374 F.3d at 801. Thus,

18   the Ninth Circuit has “regularly . . . declined to find general jurisdiction even where the contacts

19   [have been] quite extensive.” Amoco Egypt Oil Co. v. Leonis Nav., Co., 1 F.3d 848, 851 n. 3

20   (1993).        Indeed, as the Supreme Court has emphasized, this test must be stringently and

21   predictably applied because the Due Process Clause mandates that defendants be permitted “to

22   structure their primary conduct with some minimum assurance as to where that conduct will and

23   will not render them liable to suit.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985).

24             Sharp’s FAC must be dismissed because it does not allege that Thomson SA had any

25   meaningful contacts with the United States, let alone allege substantial, continuous, and

26   systematic contacts that approximated physical presence in the forum. Thomson SA is a French

27   corporation headquartered in France that: (1) has no operations; (2) has no employees; (3) has no

28   bank accounts; (4) has no mailing address; (5) does not own, lease, or rent real property; and (6)
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 1   is not registered to do business in the United States. (See Cadieux Decl. at ¶¶ 6-11, 13.) The
 2   FAC does not plead otherwise. Sharp does not even attempt to allege that Thomson SA ever had
 3   business operations, offices, employees, books and records, or a bank account in the United
 4   States, because Thomson SA did not. (See generally FAC.) In addition, the 2005 affidavits from
 5   Mr. O’Hara and Ms. Debon confirm that Thomson SA did not control Thomson Consumer’s
 6   operations during the relevant time period, so its contacts may not be imputed to Thomson SA.
 7   (See Exs. 5, 6.) Because Sharp has failed to make a prima facie case that Thomson SA’s contacts
 8   with the United States are of such a substantial nature and of such continuous duration that this
 9   Court’s exercise of general jurisdiction over it would comport with “traditional notions of fair
10   play and substantial justice,” Sharp’s claims against Thomson SA should be dismissed with
11   prejudice. Int’l Shoe, 326 U.S. at 316.
12          B.      Thomson Consumer Was Not Thomson SA’s Agent Because Thomson SA
                    Was a Holding Company That Did Not Control Thomson Consumer’s
13                  Operations.
14          Unable to plead facts that establish Thomson SA itself had sufficient minimum contacts
15   with this forum, Sharp will undoubtedly argue that Thomson SA so controlled the day-to-day
16   activities and operations of its U.S. subsidiary, Thomson Consumer, that Thomson Consumer was
17   its agent for personal jurisdiction purposes. Sharp is incorrect. During all relevant periods,
18   Thomson SA was a traditional French holding company – not a “super corporation” that
19   dominated Thomson Consumer. The facts specifically plead in the FAC do not establish a prima
20   facie claim that Thomson Consumer was Thomson SA’s agent.
21          The Supreme Court has long recognized that general jurisdiction may not be imposed on a
22   foreign corporation merely because the corporation owns a subsidiary present in the forum. See
23   Cannon Mfg. Co. v. Cudahy Packing Co., 267 U.S. 333, 337 (1925). Accordingly, the Ninth
24   Circuit has held that “[t]he existence of a relationship between a parent and its subsidiaries is not
25   sufficient to establish personal jurisdiction over the parent on the basis of the subsidiaries’
26   minimum contacts with the forum.” Unocal Corp., 248 F.3d at 925. This holding is derived from
27   the principle of corporate separateness, a “principle of corporate law deeply ingrained in our
28   economic and legal systems.” United States v. Bestfoods, 524 U.S. 51, 61 (1998). It is “a basic
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 1   tenet of American Corporate law . . . that the corporation and its shareholders are distinct
 2   entities,” over which jurisdiction must be established individually. Dole Food Co. v. Patrickson,
 3   538 U.S. 468, 474 (2003). Therefore, “[w]here two corporations are in fact separate, permitting
 4   the activities of the subsidiary to be used as a basis for personal jurisdiction over the parent
 5   violates this principle and thus due process.” Cent. States, Se. & Sw. Areas Pension Fund v.
 6   Reimer Express World Corp., 230 F.3d 934, 944 (7th Cir. 2000).
 7          Instead, a subsidiary’s contacts with the forum may only be imputed to the parent “if the
 8   parent and the subsidiary are not really separate entities” because the parent controls the
 9   “subsidiary’s internal affairs or daily operations.” Unocal Corp., 248 F.3d at 926. For example,
10   in Unocal, the plaintiffs argued that the French holding company, Total SA, was subject to
11   general jurisdiction in California because its subsidiaries in the United States acted as its agents
12   and had substantial contacts with the forum.       The Ninth Circuit Court of Appeals rejected
13   plaintiffs’ argument. It emphasized the principle of corporate separateness and explained that the
14   contacts of a local subsidiary may not be imputed to a foreign holding company simply because
15   the foreign parent exercises supervision over the activities of its local subsidiary. The court
16   explained that a foreign parent’s supervision of its subsidiary’s activities or its performance of
17   other traditional functions of a holding company do not constitute the type of control necessary to
18   subject the parent to personal jurisdiction. Thus, “it is entirely appropriate for directors of a
19   parent corporation to serve as directors of its subsidiary” or to be “directly involved in financing
20   and macro-management of its subsidiaries.”         Id. at 926-27.    Other “[a]ppropriate parental
21   involvement includes monitoring of the subsidiary’s performance, supervision of the subsidiary’s
22   finance and capital budget decisions, and articulation of general policies and procedures.” Id. at
23   926 (quoting Best Foods, 524 U.S. at 71). Likewise, a parent describing a subsidiary as a division
24   of it or “consolidating the activities of a subsidiary into the parent’s [annual] reports is a common
25   business practice” that does not establish the type of control necessary to subject the parent to
26   general jurisdiction. Id. at 928-29.
27          The Unocal court recognized that there is a fundamental distinction between an “active
28   parent corporation involved directly in the decision-making about its subsidiaries’ holdings” and
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 1   a “super-corporation” that exerts such substantial control over its subsidiaries day-to-day
 2   operations in the forum that “the subsidiaries’ presence substitutes for the presence of the parent.”
 3   Id. at 929-30. Although plaintiffs presented evidence that Total SA was involved in its local
 4   subsidiaries’ “acquisitions” and “expenditures,” “the formulation of general business policies and
 5   strategies applicable to its subsidiaries,” “the provision of loans and other types of financing to
 6   subsidiaries,” and maintained “overlapping directors and officers with its subsidiaries,” the court
 7   found that this evidence did not make out a prima facie case that Total SA had an agency
 8   relationship with its local subsidiaries. Id. at 927. In other words, this type of evidence did not
 9   establish that Total SA was not a traditional investment holding company. Because plaintiffs’
10   evidence did not constitute prima facie proof that Total SA had an agency relationship with its
11   subsidiaries, the court granted Total SA’s motion to dismiss for lack of personal jurisdiction. Id.
12   at 931.
13             By contrast, in Bauman v. DaimlerChrysler Corp., the Ninth Circuit Court of Appeals
14   found that the German manufacturing company, DaimlerChrysler A.G. (“DCAG”), possessed an
15   agency relationship with its wholly-owned U.S. subsidiary, Mercedes-Benz USA (“MBUSA”), an
16   entity that sold and distributed in the United States the cars the parent manufactured in Germany.
17   644 F.3d 909, 914-15 (9th Cir. 2011) petition for cert. granted by 133 S. Ct. 1995 (April 22,
18   2013).     Critically, unlike the circumstances here, DCAG’s relationship with MBUSA was
19   governed by a General Distributor Agreement that gave DCAG almost plenary control over
20   MBUSA’s day-to-day operations in the United States. Pursuant to that agreement, “DCAG had
21   the right to control nearly all aspects of MBUSA’s operations,” including:
22             the number of vehicles that MBUSA must sell; the approval of MBUSA's
               Authorized Resellers, as well as the location of each retail sales outlet, showroom
23             and service facility; the dealership standards that MBUSA must comply with; the
               business systems that MBUSA uses; the type of customer information that
24             MBUSA must collect; which management personnel are appointed to run
               MBUSA; . . . the standards and requirements MBUSA must meet for vehicle
25             servicing; whether MBUSA is required to establish a Service Coordination
               Center, and if so, what tasks that Center will perform; the warranty terms
26             applicable to MBUSA's customers; whether MBUSA can alter or modify any
               vehicle; what technical service publications MBUSA shall have in its library; the
27             content and scope of MBUSA's advertising and marketing strategy; the type,
               design and size of MBUSA's signs; the prices that MBUSA must pay to DCAG;
28             the prices that MBUSA may charge to its Authorized Resellers; . . . whether
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 1          MBUSA must assist in vehicle homologation; and the sales numbers of various
            Authorized Resellers.
 2
     (Id. at 924.) Moreover, “[i]f that exhaustive list were not enough, DCAG also ha[d] the right to
 3
     require MBUSA to execute ‘any agreement relating to . . . any other matter related to this
 4
     Agreement’ . . . as long as those new Agreements are not an ‘unreasonable burden’ on MBUSA.”
 5
     (emphasis in original).    In short, DCAG exercised complete control over the day-to-day
 6
     operations of its local subsidiary. Therefore, the court held that DCAG exerted such substantial
 7
     control over MBUSA and the distribution services it performed were of such importance to the
 8
     manufacturer that “the actions of the subsidiary c[ould] be understood as a manifestation of the
 9
     parent’s presence” in the forum so DCAG was subject to general jurisdiction. Id. at 921 (citing
10
     Int’l Shoe Co., 326 U.S. at 318); see also In re Genetically Modified Rice Litigation, 576 F. Supp.
11
     2d 1063, 1068-75 (E.D. Mo. 2008) (finding parent possessed agency relationship with local
12
     subsidiary where contract gave parent authority to substantially control day-to-day operations of
13
     subsidiary).
14
            Judge O’Scannlain, joined by seven other judges, filed a stinging dissent to the Ninth
15
     Circuit’s denial of the petition to rehear Bauman en banc, arguing that the decision extended “the
16
     reach of general personal jurisdiction beyond its breaking point” and was “inconsistent with the
17
     law of at least six of our sister circuits.” Bauman, 676 F.3d 674-5 (9th Cir. 2011). Subsequently,
18
     the Supreme Court granted a petition for writ of certiorari to review Bauman that is currently
19
     pending. See 133 S. Ct. 1995 (April 22, 2013).
20
            Regardless of the Supreme Court’s ultimate decision in Bauman, the circumstances here
21
     are easily distinguishable from those present in that case and provide no basis for the exercise of
22
     jurisdiction over Thomson SA. In its FAC, Sharp does not allege the existence of any agreement
23
     that gave Thomson SA control over Thomson Consumer’s day-to-day operations because no such
24
     agreement has ever existed. Instead, Sharp pleads exactly the type of facts the Unocal Court held
25
     were insufficient to establish a prima facie case of agency. Sharp alleges that Thomson SA
26
     executives “also served as directors and/or board members of Thomson Consumer,” were
27
     “involved in planning and purchasing discussions with U.S. CRT customers,” and “had
28
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 1   operational responsibilities in the United States.” (FAC at ¶ 73.) Such facts, even if true, do not
 2   establish a prima facie case that a parent has an agency relationship with its subsidiary because “it
 3   is entirely appropriate for directors of a parent corporation to serve as directors of its subsidiary”
 4   or to be “directly involved in financing and macro-management of its subsidiaries.” Unocal, 248
 5   F.3d at 926-7; see also In re Genetically Modified Rice Litigation, 576 F. Supp. 2d at 1073 (fact
 6   that parent supervised operations of subsidiary inadequate to establish agency relationship).
 7   Simply stated, Sharp has failed to plead facts that establish Thomson SA exerted the degree of
 8   control over Thomson Consumer’s day-to-day activities that is necessary to establish a prima
 9   facie case that Thomson Consumer was Thomson SA’s agent.
10          Instead, Sharp relies on conclusory allegations of control and domination. (“Thomson SA
11   had a controlling role in the operation of its subsidiaries . . . .” FAC at ¶ 73.) Its unsupported
12   allegations are directly controverted by the Cadieux Declaration (id. at ¶¶ 19-21, Ex. 3) and by
13   the 2005 affidavits of then Thomson Consumer President Michael O’Hara and Thomson SA
14   General Secretary Marie-Ange Debon. (O’Hara Affidavit at ¶¶ 4-7, Ex. 5; Debon Affidavit at ¶¶
15   4-6, Ex. 6.) Mr. O’Hara stated in no uncertain terms “Thomson Inc. controls its day-to-day
16   activities.” (Ex. 5, at ¶ 6.) The 2005 O’Hara and Debon affidavits were attached to the briefing
17   submitted by Thomson SA in Audio MPEG, Inc. v. Thomson SA, 05-cv-565 (E.D. Va. Oct 17,
18   2005) and relied on by the district court in that case in its 2005 ruling that Thomson Consumer
19   was not the agent of Thomson SA. (Oct. 17, 2005 Order at 5-6 (finding “Thomson SA and
20   Thomson, Inc. are separate corporations in form and fact.”) attached as Ex. 7.) Significantly,
21   these affidavits cover the very same time frame at issue in the claims asserted by Sharp and a
22   federal district court accepted them as sufficient evidence to overcome claims made during this
23   period that Thomson Consumer was Thomson SA’s agent. Now, eight years later, Sharp pleads
24   no facts that warrant a different finding.
25          Attempting to analogize to Bauman, Sharp will argue that Thomson SA’s realization of
26   substantial revenue from Thomson Consumer’s operations in the United States (before it exited
27   the CRT market in 2005) shows that Thomson Consumer was so important to its parent that, were
28   it not for Thomson Consumer, Thomson SA itself would have needed to undertake sales and
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 1   marketing in the United States. Bauman, 644 F.3d at 921; FAC at ¶ 73 (alleging that Thomson
 2   SA derived “between 40-50%” of its revenue from the U.S.); [Dkt. No. 1835 at 16]. Sharp’s
 3   argument should be rejected. In Bauman, the court determined that MBUSA sold such a large
 4   percentage of the cars manufactured by DCAG in Germany that but for MBUSA, DCAG would
 5   have had to perform those distribution services itself (which it effectively already did) or engage
 6   another entity to do so. Bauman, 644 F.3d at 921-22. By contrast, Thomson SA is a mere
 7   holding company – it did not manufacture products that were then distributed by its subsidiary in
 8   the United States. (Cadieux Decl. at ¶ 14.) During the relevant period, Thomson SA held
 9   Thomson Consumer as an investment, not as a conduit to distribute products it manufactured.
10   Moreover, unlike DCAG, which needed its subsidiary to distribute the products it manufactured,
11   as a holding company, Thomson SA “could simply hold another type of subsidiary, in which case
12   imputing the subsidiary’s jurisdictional contacts to the parent would be improper.” Unocal, 248
13   F.3d at 929. Finally, that Thomson Consumer’s CRT manufacturing business was not sufficiently
14   important to Thomson SA that, but for its existence, Thomson SA would have performed these
15   activities itself is conclusively established by the fact that Thomson Consumer closed its United
16   States-based CRT plants in 2004 and sold its CRT business in 2005. (FAC at ¶ 72.) Thomson
17   SA did not subsequently perform these activities itself or engage another party to do so, thereby
18   establishing that Thomson Consumer’s CRT business was not sufficiently important to Thomson
19   SA that it would carry on that business itself in Thomson Consumer’s absence. See In re: W.
20   States Wholesale Natural Gas Antitrust Litig., 605 F. Supp. 2d 1118, 1136 (D. Nev. 2009).

21          Because Sharp has failed to plead facts that establish Thomson SA controlled the day-to-
22   day operations of Thomson Consumer and that Thomson Consumer was sufficiently important to
23   it that Thomson SA would have carried on Thomson Consumer’s operations in its absence, Sharp
24   has failed to make a prima facie case that Thomson Consumer was Thomson SA’s agent.
25          C.      Sharp Has Failed to Plead That Thomson SA Committed Intentional Acts
                    Expressly Aimed at the U.S. That Were a But-For Cause of Sharp’s Claims.
26

27          Sharp also fails to allege facts sufficient to support this Court’s exercise of specific

28   jurisdiction over Thomson SA. Specific jurisdiction exists when the “cause of action arises out of
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 1   or has a substantial connection to the defendant’s contacts with the forum.” Glencore Grain
 2   Rotterdam B.V. v. Shivnath Rai Harnarain Co., 284 F.3d 1114, 1124 (9th Cir. 2002). To
 3   establish specific jurisdiction over Thomson SA, Sharp must present evidence showing: (1)
 4   Thomson SA purposefully directed its activities at this forum; and (2) Sharp’s claims against it
 5   arise out of or result from Thomson SA’s forum related activities. See Bancroft & Masters, Inc.
 6   v. Augusta National Inc., 223 F.3d 1082, 1086-7 (9th Cir. 2000). Sharp cannot, and has not,
 7   satisfied these two elements.
 8                  1.     Sharp Has Failed to Plead Facts That Establish Thomson SA
                           Purposefully Directed Activities Toward the United States.
 9

10          Purposeful direction is evaluated using the three-part “Calder-effects” test under which

11   the plaintiff must show: (1) the defendant committed an intentional act; (2) expressly aimed at

12   the forum state; (3) causing harm the defendant knows is likely to be suffered in the forum state.

13   Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433 F.3d 1199, 1206 (9th Cir.

14   2006). The Ninth Circuit has warned that “the foreign-acts-with-forum-effects jurisdictional

15   principle ‘must be applied with caution, particularly in an international context.’”       Kramer

16   Motors, Inc. v. British Leyland, Ltd., 628 F.2d 1175, 1178 (9th Cir. 1980).

17          Here, Sharp has failed to allege specific facts in the FAC that establish Thomson SA took

18   any relevant intentional acts expressly aimed at the United States. The FAC lobs numerous

19   legally insufficient allegations against “defendants” or a non-existent combined “Thomson” entity

20   without identifying the particular Thomson company that participated in the alleged

21   anticompetitive conduct aimed at the United States. (See FAC at ¶¶ 7, 74, 148, 156, 158, 175); In

22   re TFT-LCD (Flat Panel) Antitrust Litig., 586 F. Supp. 2d 1109, 1117 (N.D. Cal. 2008) (holding

23   “general allegations as to all defendants” or “to a single corporate entity such as ‘Hitachi’”

24   insufficient as a matter of law). In addition, Sharp alleges that “Thomson participated in and/or

25   was a party to more than 15 bilateral meetings and more than 25 group meetings, including Green

26   Meetings in the United States.” (FAC at ¶ 196.) While Sharp attempts to plead additional details

27   regarding these alleged meetings, these allegations do not show that Thomson SA took intentional

28   acts expressly aimed at the United States.       (Id.)   Instead, Sharp alleges that Thomson SA
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 1   representatives participated in meetings with other defendants – many of whom it had a customer-
 2   supplier relationship with – that occurred in Europe where Thomson SA is headquartered. (See,
 3   e.g., id. (alleging Thomson SA’s participation in 9/23/99, 10/29/99, 12/4/03, and 11/2/04
 4   meetings in France, 1/26/01 meeting in England, and 7/5/01 meeting in Luxemburg.) At all
 5   relevant times, Thomson SA was a holding company whose subsidiaries had extensive CRT
 6   operations throughout Europe. Because it is equally, if not more, plausible that these alleged
 7   meetings related to the European CRT operations of these subsidiaries, these allegations do not
 8   establish that Thomson SA took intentional acts expressly aimed at the United States.
 9          Indeed, the Calder-effects test does not “stand for the broad proposition that a foreign act
10   with foreseeable effects in the forum state always gives rise to personal jurisdiction.” Bancroft &
11   Masters, Inc., 223 F.3d at 1087. Express aiming requires “something more” – it requires foreign
12   acts targeted at the plaintiff in the forum “performed for the very purpose of having their
13   consequences felt in the forum state.” Id. at 1088. Applying these principles, courts in this
14   district have found that a defendant’s alleged participation in a foreign price-fixing conspiracy
15   that had foreseeable effects on the U.S. market does not satisfy this test if the plaintiff cannot
16   show that the defendant “engaged in wrongful conduct targeted at a plaintiff whom the defendant
17   knows to be a resident of the forum.” In re Dynamic Random Access Memory (DRAM) Antitrust
18   Litig., No. C 02-1486, 2005 WL 2988715, at *5-6 (N.D. Cal. Nov. 7. 2005) (holding plaintiffs
19   could not establish express aiming where the defendant alleged to have participated in
20   international conspiracy had never manufactured or sold DRAM in forum states or maintained
21   business or corporate formalities there).
22          Sharp has not and cannot show that Thomson SA engaged in anticompetitive activity
23   individually targeted at Sharp in the United States because Thomson SA has never manufactured
24   or sold CRTs or conducted any CRT business in the United States. Instead, Sharp alleges that
25   Thomson SA participated in foreign meetings with competitors where information regarding CRT
26   products was allegedly exchanged and that “the North America market was the largest market for
27   CRT Products” so ipso facto, Thomson SA individually targeted Sharp in the United States.
28
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 1   Holland Am. Line, Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 458 (9th Cir. 2007) (holding
 2   “unsubstantiated and vague statement[s] do not establish a prima facie case for jurisdiction.”).
 3          However, Thomson SA did not manufacture, market, sell, or distribute CRTs or CRT
 4   products in the United States and did not set prices for CRTs or CRT products sold by Thomson
 5   Consumer in the United States. (Cadieux Decl. at ¶¶ 14-15, 2; Debon Aff. at ¶ 6 (“Thomson SA
 6   does not direct or advise Thomson Inc. on how to sell or distribute any Thomson Inc. product in
 7   the United States”); O’Hara Decl. at ¶ 7 (“Thomson Inc. is responsible for the sales and
 8   marketing of products in the United States.”).) Accordingly, Sharp has failed to make a prima
 9   facie case that Thomson SA took any intentional act expressly aimed at causing Sharp harm in the
10   United States.
11                    2.   Sharp Has Not Presented Evidence That Thomson SA’s Forum-
                           Related Activities Were a But-For Cause of Its Claims.
12

13          To satisfy the second element of the Calder-effects test, Sharp must show that Thomson

14   SA’s contacts with the United States were a “but for” cause of its claims. Bancroft & Masters,

15   Inc., 223 F.3d at 1088. Sharp has failed to allege facts establishing that Thomson SA took any

16   intentional acts expressly aimed at the United States. As such, it has failed to allege any specific

17   acts by Thomson SA that could have been a but-for cause of its claims, let alone establish that

18   these non-existent acts did actually cause it such harm. (See supra at 2-3.) Having failed to

19   allege that Thomson SA took intentional acts expressly aimed at Sharp in the United States, Sharp

20   cannot bootstrap that Thomson SA was a but-for cause of its claims in the United States by

21   merely alleging it was harmed by a global price-fixing conspiracy involving multiple defendants.

22                    3.   The Exercise of Jurisdiction Over Thomson SA Would Not Be
                           Reasonable.
23

24          Because Sharp has failed to satisfy either of the first two elements of the Calder-effects

25   test, it is not necessary to evaluate whether this Court’s exercise of jurisdiction over Thomson SA

26   would be would reasonable. But, even if Sharp had satisfied the effects test, the exercise of

27   jurisdiction over Thomson SA would not be reasonable. Courts consider seven factors to evaluate

28   reasonableness:
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 1          “(1) the extent of the defendant’s purposeful interjection into the forum state, (2)
            the burden on the defendant in defending in the forum, (3) the extent of the
 2          conflict with the sovereignty of the defendant’s state, (4) the forum state’s interest
            in adjudicating the dispute, (5) the most efficient judicial resolution of the
 3          controversy, (6) the importance of the forum to the plaintiff’s interest in
            convenient and effective relief, and (7) the existence of an alternative forum.”
 4

 5   Bancroft & Masters, 223 F.3d at 1088 (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462,

 6   476-77 (1985)).

 7          The burden imposed on Thomson SA is the most important factor. Terracom v. Valley

 8   Nat’l Bank, 49 F.3d 555, 561 (9th Cir. 1995) (“[T]he law of personal jurisdiction is asymmetrical

 9   and is primarily concerned with the defendant’s burden.”); see also Menken v. Emm, 503 F.3d

10   1050, 1061 (9th Cir. 2007) (“[I]n this circuit, the plaintiff’s convenience is not of paramount

11   importance.”) (citation omitted). And the burden on Thomson SA in litigating this complex case

12   would be significant. To the extent evidence still exists concerning the CRT business that

13   Thomson SA sold eight years ago, any documents are located in France; the same is true for any

14   personnel who might have knowledge concerning the CRT business. Not only would obtaining

15   relevant information located in France be costly and burdensome, it would also potentially subject

16   Thomson SA to criminal sanctions under the French “blocking statute,” 1 which prohibits the

17   communication or disclosure of documents or information of an economic, commercial,

18   industrial, financial, or technical nature for use as evidence in foreign judicial proceedings. See

19   In re Perrier Bottled Water Litig., 138 F.R.D. 348, 356 (D. Conn. 1991) (discussing effect of

20   “blocking statute” and requiring plaintiffs to comply with procedures under the Hague

21   Convention in pursuing any discovery from defendant). 2

22   1
       Loi 80-538 du 16 juillet 1980 relative à la communication de documents et renseignements
23   d’ordre économique, commercial ou technique à des personnes physiques ou morales étrangères
     [Law 80-538 of July 16, 1980 relating to the disclosure of documents and information of an
24   economic, commercial or technical nature to foreign natural and legal persons], JOURNAL
     OFFICIEL DE LA REPUBLIQUE FRANÇAISE [J.O.] [OFFICIAL GAZETTE OF FRANCE], July 17, 1980, p.
25
     1799 (Imposing criminal sanctions including imprisonment and a fine on parties who export
26   certain categories of documents or respond to discovery requests).
     2
27     For the same reason, the exercise of personal jurisdiction over Thomson SA would therefore
     raise substantial concerns regarding French sovereignty. See, e.g., Sinatra v. Nat’l Enquirer, Inc.,
28   854 F.2d 1191, 1199-1200 (9th Cir. 1988); see also Asahi, 480 U.S. at 115 (recommending a
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 1          The exercise of personal jurisdiction over Thomson SA would also be unreasonable
 2   because: (1) Thomson SA has not purposefully interjected its activities into the United States; (2)
 3   until 1999, all stock in Thomson SA was owned by the French government so Sharp’s claim
 4   against it raise substantial sovereignty concerns; and (3) exercising jurisdiction over Thomson SA
 5   in the United States would be inefficient and would not further Sharp’s interest in convenient and
 6   effective relief because Thomson Consumer is the entity in the Thomson group of companies that
 7   manufactured and/or sold CRTs in the United States and it has not contested this Court’s
 8   jurisdiction over it. United States v. First Nat’l City Bank, 379 U.S. 378, 403-404 (U.S. 1965)
 9   (stating that “modern notions of personal jurisdiction were developed within a framework of
10   States whose various processes are governed by the Due Process Clause and whose judgments
11   must be given full faith and credit by the other States within the federal structure. Great care and
12   reserve should be exercised when extending our notions of personal jurisdiction into the
13   international field.”); In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 2005 WL
14   2988715, at *9 (exercise of jurisdiction over foreign corporations unreasonable given hardship
15   conducting litigation in United States would impose on them and existence of continuing
16   litigation against other related defendants). Thus, even if Sharp had established a sufficient
17   connection between Thomson SA’s forum-related activities and Sharp’s claims in this case – it
18   has not – this Court’s exercise of jurisdiction over Thomson SA would not be reasonable. See
19   Terracom v. Valley Nat’l Bank., 49 F.3d 555, 561 (9th Cir. 1995) (explaining that the law of
20   personal jurisdiction is “asymmetrical and is primarily concerned with the defendant’s burden.”).

21   Because Thomson SA is not subject to personal jurisdiction in this forum, Sharp’s claims against

22   it should be dismissed.

23

24   “careful inquiry into the reasonableness of the assertion of jurisdiction in the particular case, and
     an unwillingness to find the serious burdens on an alien defendant outweighed by minimal
25
     interests on the part of the plaintiff or the forum State”); Glencore, 284 F.3d at 1125 (holding that
26   burden on foreign defendant with no minimum contacts and having witnesses and evidence
     abroad would be great and that where “the defendant is from a foreign nation rather than another
27   state, the sovereignty barrier is high and undermines the reasonableness of personal jurisdiction”
     (citation omitted)).
28
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 1          D.      The Court Should Not Grant Sharp Jurisdictional Discovery.
 2          Recognizing that it has failed to make a prima facie case that Thomson SA is subject to

 3   personal jurisdiction, Sharp will undoubtedly request that it be permitted to conduct jurisdictional

 4   discovery. Sharp’s request should be denied. “[W]here a plaintiff’s claim of personal jurisdiction

 5   appears to be both attenuated and based on bare allegations in the face of specific denials made by

 6   the defendants, the Court need not permit even limited discovery.” Id. at 562. That is the case

 7   here. Sharp’s arguments that Thomson SA is subject to this Court’s jurisdiction are premised

 8   upon its factually unsupported allegations that:         (1) Thomson SA controlled Thomson

 9   Consumer’s operations in the United States; and (2) Thomson SA took acts aimed at causing

10   Sharp harm in the United States. Thomson SA has submitted affidavits that directly controvert

11   these allegations. (See Exs. 3, 5-6.) These affidavits establish that Thomson Consumer was not

12   Thomson SA’s agent and that Thomson SA never manufactured or sold CRT products in the

13   United States or told Thomson Consumer how to set the prices of the CRTs that entity sold in the

14   United States. (Id.) Although Sharp has had complete access to the discovery provided by the

15   other defendants in this action, in its FAC, Sharp is unable to plead specific facts that prove

16   otherwise. Accordingly, there is no reason to believe that allowing Sharp to conduct additional

17   jurisdictional discovery against Thomson SA will remedy these fundamental deficiencies. The

18   Court should grant Thomson SA’s Motion and dismiss Sharp’s claims against it with prejudice.

19   II.    SHARP’S CLAIMS AGAINST THOMSON SA SHOULD BE DISMISSED
            BECAUSE SHARP FAILS TO PLEAD VIABLE CLAIMS AGAINST IT.
20

21          Not only should Sharp’s claims be dismissed pursuant to Fed. R. Civ. P. 12(b)(2) for lack

22   of personal jurisdiction, like Sharp’s claims against Thomson Consumer, 3 its claims against

23   Thomson SA should be dismissed pursuant to Rule 12(b)(6) because they: (1) are inexcusably

24   late and barred by the doctrine of laches; (2) are time-barred under the applicable statutes of

25
     3
26     The additional arguments and legal authority discussed in greater detail in Thomson Consumer’s
     Motion to Dismiss Sharp’s FAC also apply to Sharp’s claims against Thomson SA and are
27   incorporated by reference herein. (See generally Thomson Consumer’s Notice of Motion and
     Motion to Dismiss Sharp’s First Amended Complaint.)
28
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 1   limitations and Sharp has failed to plead a basis for tolling its claims; and (3) otherwise fail to
 2   state cognizable claims.
 3          A.      Sharp’s Late Claims Against Thomson SA are Barred by the Doctrine of
                    Laches.
 4

 5          The doctrine of laches operates to bar a plaintiff’s claims when the plaintiff has (1)

 6   unreasonably delayed pressing its rights and (2) thereby caused prejudice to the defendant. See

 7   Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 838 (9th Cir. 2002) (explaining that

 8   “laches penalizes inexcusable dilatory behavior” by the plaintiff); Jackson v. Axton, 25 F.3d 884,

 9   886 (9th Cir. 1994) (“Laches is based on the plaintiff’s delay in beginning litigation . . . .”) “A

10   determination of whether a party exercised unreasonable delay in filing suit consists of two steps.

11   First, we assess the length of delay, which is measured from the time the plaintiff knew or should

12   have known about its potential cause of action. Second, we decide whether the plaintiff's delay

13   was reasonable.” Jarrow Formulas, 304 F.3d at 838 (internal citations omitted).

14          Here, Sharp has admitted that it had actual knowledge of its potential claims by November

15   of 2007. (FAC at ¶ 232.) As early as January of 2008, Thomson SA was named as a defendant in

16   four of the original complaints filed by other plaintiffs in this matter. 4 Each of those original

17   complaints alleged that Thomson SA manufactured, sold, and distributed CRTs and/or CRT

18   products throughout the U.S. and was involved in a global conspiracy with other named

19   defendants. See Radio & TV Equip., Inc. at ¶¶ 27, 69-79; Sound Invs. Corp. at ¶¶ 27, 69-79; Ganz

20   at ¶¶ 22, 48-72; Stack, et al. at ¶¶ 33, 62-86. Despite the fact that it possessed knowledge of its

21   potential claims, Sharp slept on its rights. It waited until March 15, 2013 – over five years after

22   the first claims were filed in this action and over 16 months after the other Direct Action Plaintiffs

23   (“DAPs”) filed their complaints – to first assert claims against Thomson SA and Thomson

24   Consumer. Sharp pleads no facts in the FAC that justify this inexcusable delay.

25   4
       See Radio & TV Equip., Inc. v. Chunghwa Picture Tubes, Ltd., et al., No. 08-00542 (D.N.J.,
26   filed Jan. 28, 2008); Sound Invs. Corp. v. Chunghwa Picture Tubes, Ltd., et al., No. 08-00543
     (D.N.J., filed Jan. 28, 2008); Stack, et al. v. Chunghwa Picture Tubes, Ltd., et al., No. 08-01319
27   (N.D. Cal., filed March 7, 2008); Ganz v. Chunghwa Picture Tubes, Ltd., et al., No. 08-01721
     (N.D. Cal., filed March 31, 2008).
28
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 1          Thomson SA has been seriously prejudiced by this delay. Since this action began, over
 2   five million pages of documents have been produced and the parties have conducted over 90
 3   depositions. As the Court stated in its September 26, 2013 Order denying the DAPs’ Motion to
 4   Amend to add the Thomson Defendants as parties to the case, “[d]iscovery in this case has
 5   proceeded apace” and requiring the Thomson Defendants to enter the litigation now would put
 6   them at an unfair, prejudicial disadvantage. (See Sept. 26, 2013 Order at 4-6 [Dkt. No. 1959].)
 7   “[T]he DAPs had ample time to add Thomson to their complaints without delay or prejudice, but
 8   they did not” and “to reward delay with amendment in this case is not justifiable.” (Id. at 5-6.)
 9          The same reasoning applies to Sharp’s claims against Thomson SA. While Sharp slept on
10   its rights, evidence degraded, memories faded, and information and personnel involved in
11   Thomson SA CRT operations – an industry which it exited in 2005 – became even more difficult,
12   if not impossible, to locate. At the same time, discovery in this action “proceeded apace” for
13   years. By waiting until March of 2013 to first assert its claims, Sharp has put Thomson SA at a
14   severe disadvantage. Because Thomson SA has not participated in this litigation to date, to
15   “catch up” it would need to:      (1) identify, locate, contact, and interview former Thomson
16   personnel who may have knowledge regarding Sharp’s claims; (3) collect, review, and produce
17   documents responsive to Sharp’s discovery requests; (4) obtain, search, review, analyze, and
18   possibly translate the millions of pages of documents previously produced in the class actions and
19   direct actions for documents that related to the Thomson Defendants; (5) serve additional
20   document requests, interrogatories, and requests for admission on Sharp; (6) meet and confer
21   regarding Sharp’s discovery responses and file any necessary motions to compel; (7) purchase
22   and review the transcripts of the over 90 depositions that have already been conducted in this
23   matter; (8) identify witnesses and notice depositions, including depositions of some of the dozens
24   of witnesses who were deposed before Sharp attempted to add the Thomson Defendants as
25   parties; and (9) engage experts and prepare expert reports.
26          Mounting a proper defense would be particularly onerous for Thomson SA because, as
27   Sharp has admitted, Thomson SA sold its CRT business in 2005, so nearly all, if not all, relevant
28   personnel have long since left the Thompson Defendants.          (See FAC at ¶ 72.)       In similar
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 1   circumstances, courts have found that such difficulties would severely prejudice a defendant. See
 2   Wilkins-Jones v. City of Alameda, 2012 WL 3116025 at *8-9 (N.D. Cal. July 31, 2012) (denying
 3   motion for leave to amend the complaint where, because of passage of years, much of the
 4   evidence required to mount a defense would be difficult to obtain); see also Parker v. Shaw &
 5   Lines, LLC, 2010 WL 1640963, at *2 (D. Ariz. Apr. 20, 2010) (“It is axiomatic that, as time
 6   passes, it becomes harder for Defendants to defend the action as witnesses become unavailable
 7   and memories fade.”); Efaw v. Williams, 473 F.3d 1038, 1041 (9th Cir. 2007). Moreover, even if
 8   Thomson SA was able to take all of the steps necessary to “catch up” and prepare a proper
 9   defense, requiring it to do so in a period of months, as opposed to the years that have been
10   afforded to the DAPs and the existing defendants, would be fundamentally unfair and severely
11   prejudicial. Thomson SA has been severely prejudiced by Sharp’s failure to assert it claims
12   nearly six years after Sharp has admitted it had knowledge of those claims. Accordingly, Sharp’s
13   tardy claims are barred by laches and should be dismissed with prejudice. See McCune v. Alioto
14   Fish Company, 597 F.2d 1244, 1250 (9th Cir. 1979) (affirming trial court’s dismissal of
15   complaint on basis of laches where plaintiff’s three-year delay in bringing claims made it difficult
16   for defendant to obtain evidence needed to defend claims).
17          B.      Sharp’s Claims are Time-Barred and It Has Not Plead Specific Facts that
                    Establish a Plausible Basis for Tolling the Statutes of Limitations.
18

19          Where it is apparent on the face of the complaint that the applicable statutes of limitations
20   have expired, the Plaintiffs’ claims should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6). Von
21   Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969 (9th Cir. 2010). Here, the
22   statutes of limitations on Sharp’s claims against Thomson SA began to run no later than July
23   2005, when Thomson SA sold its CRT business to Videocon. (FAC at ¶ 72). Indeed, in briefing
24   previously submitted to the Court, Sharp admitted that in 2005 “Thomson SA exited the CRT
25   business on a global basis . . . .” (See Sharp’s Opp. to Thomson SA’s Mot. to Dismiss for Lack
26   of Personal Jurisdiction [Dkt. No. 1835 at 16 n.15] (emphasis in original).) Now, in an effort to
27   delay the accrual date of its claims, Sharp tries, but fails, to allege that Thomson SA took overt
28   acts in furtherance of the alleged antitrust conspiracy after July of 2005 when its CRT-related
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 1   assets and employees were transferred to Videocon. Specifically, Sharp alleges that “[a]t the
 2   same time that Videocon purchased Thomson’s CRT business, Thomson SA invested a total of
 3   €240 million in Videocon . . . and acquired 13.1% of [the shares] of Videocon Industries, Ltd.”
 4   (FAC at ¶ 71.) As part of its investment, “Thomson SA also received at least one seat on
 5   Videocon Industries, Ltd.’s board of directors” and “Thomson’s agreement with Videocon
 6   Industries, Ltd. provided that Thomson management would help Videocon Industries, Ltd. run the
 7   CRT business during the transition.” (Id.) In other words, Sharp alleges that after it transferred
 8   all of its CRT-related assets and personnel to Videocon in 2005, Thomson SA held an equity
 9   investment as a minority shareholder in Videocon. However, Sharp does not allege any facts that
10   suggest that after the July 2005 sale Thomson SA: (1) retained CRT-related assets or personnel;
11   or (2) actually actively participated in the manufacturing, sale, or distribution of CRTs anywhere
12   in the world. This is because Thomson SA did not do so. Like any shareholder of a publicly-
13   traded company, the fact that Thomson SA was a minority shareholder in Videocon after 2005
14   does mean that it participated in the CRT industry. Because Thomson SA exited the CRT
15   industry in July of 2005, the statutes of limitations on Sharp’s claims began to run, at the latest, at
16   that time. See Morton’s Market, Inc. v. Gustafson’s Dairy, Inc., 198 F.3d 823, 839 (11th Cir.
17   1999) (holding plaintiff’s antitrust claims time-barred because statute of limitations began to run
18   when defendant sold dairy business and thereby withdrew from alleged conspiracy); see also In
19   re High Fructose Corn Syrup Antitrust Litig., 293 F. Supp. 2d 854, 860 (N.D. Ill. 2003) (finding
20   claims barred because statute of limitations began to run against individuals upon their
21   resignation of employment from company). Accordingly, the three and four-year statutes of
22   limitations that apply to Sharp’s claims expired several years before Sharp filed its Complaint on
23   March 15, 2013.
24          Sharp has also failed to allege a plausible basis for tolling the statutes of limitations that
25   apply to its claims against Thomson SA. Where, as here, the applicable statutes of limitations
26   have clearly expired, “the plaintiff has the burden of proving facts that would toll the statute[s].”
27   Vaughn v. Teledyne, Inc., 628 F.2d 1214, 1218 (9th Cir. 1980). To survive a motion to dismiss,
28   the complaint must “specifically identify every basis [the plaintiff] intends to rely on to establish
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 1   the tolling of statute of limitations.” In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-md-
 2   1827, MDL Dkt. No. 4867 at 3 (N.D. Cal. Feb. 23, 2012) (granting motion to dismiss where
 3   plaintiff failed to plead specific facts that established statute of limitations was tolled).
 4           To adequately plead that a statute of limitations was tolled by fraudulent concealment, a
 5   plaintiff must satisfy the heightened pleading standards of Fed. R. Civ. P. 9(b). Conmar Corp. v.
 6   Mitsui & Co. (USA) Inc., 858 F.2d 499, 502 (9th Cir. 1988). Sharp “must do more than show that
 7   it was ignorant of its cause of action . . . it must plead facts showing that [Thomson SA]
 8   affirmatively misled it.” Id. In other words, Sharp must plead affirmative conduct by Thomson
 9   SA to mislead Sharp “above and beyond the wrongdoing upon which [Sharp’s] claim is filed.”
10   Santa Maria v. Pac. Bell, 202 F.3d 1170, 1176 (9th Cir. 2000). “Conclusory statements are not
11   enough. [Sharp] must plead with particularity the circumstances of the concealment and the facts
12   supporting its due diligence.” Conmar Corp., 858 F.2d at 502.
13           Sharp has failed to satisfy these standards. Sharp does not allege any specific acts by
14   Thomson SA after July of 2005 that could plausibly suggest it affirmatively concealed its alleged
15   participation in the conspiracy after this date.
16           Sharp has also failed to plead specific facts that suggest it diligently attempted to discover
17   the facts underlying its claims.      Instead, Sharp conclusorily asserts that it “could not have
18   discovered the alleged conspiracy at an earlier date by the exercise of reasonable diligence” (FAC
19   at ¶ 237) and that it “had neither actual nor constructive knowledge of the facts constituting their
20   claim for relief before November 2007.” (Id. at ¶ 232.) Courts have uniformly held that such
21   conclusory allegations are inadequate and do not toll the applicable statutes of limitations. (See
22   Thomson Consumer’s Mot. to Dismiss FAC at 10) (collecting cases). Therefore, Sharp has failed
23   to plead fraudulent concealment by Thomson SA with the particularity required by Rule 9(b) and
24   Ninth Circuit precedent, and its claims are barred by the applicable statutes of limitations. See
25   Conmar Corp., 858 F.2d at 502.
26           American Pipe tolling does not save Sharp’s claims against Thomson SA. As noted
27   above, Thomson SA was named as a defendant in four of the original complaints filed by Indirect
28   Purchaser Plaintiffs (“IPPs”) and Direct Purchaser Plaintiffs (“DPPs”) in early 2008. (See supra
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 1   at 18 n. 4.) However, on March 16, 2009, both the IPPs and DPPs filed amended consolidated
 2   class action complaints that did not name Thomson SA as a defendant. (See DPP’s Amended
 3   Consolidated Compl. [Dkt. No. 436]; IPP’s Amended Consolidated Compl. [Dkt. No. 437]. “It is
 4   hornbook law that an amended pleading supersedes the original, the latter being treated thereafter
 5   as non-existent.” Bullen v. De Bretteville, 239 F.2d 824, 833 (9th Cir. Cal. 1956). Therefore, “at
 6   the time when a defendant is dropped from the class action, that defendant is no longer notified of
 7   any claims against it, and a potential plaintiff is then required to act upon any claims it hopes to
 8   assert.” Linder Dividend Fund, Inc. v. Ernst & Young, 880 F. Supp. 49, 54 (D. Mass. 1995)
 9   (holding that a consolidated amended complaint supersedes any earlier complaint so after it is
10   filed there is no American Pipe tolling against a defendant not named in the superseding
11   complaint). Sharp did not act after Thomson SA was dropped from the DPP and IPP actions in
12   2009 − it slept on its rights. Thus, American Pipe tolling does not save its claims.
13             As explained in Thomson Consumer’s Motion to Dismiss, government action tolling also
14   does not apply to Sharp’s claims. (See Thomson Consumer’s Mot. to Dismiss Sharp’s FAC at
15   13-17.)     The Cheng, Yeh, and Lee, et al. Indictments only allege that these defendants
16   participated in an anticompetitive conspiracy involving “CDTs . . . for use in computer monitors
17   and other products with similar technological requirements.” They do not make any allegations
18   regarding the separate and distinct CPT market – the market for CRTs used in televisions. (See
19   id.) By contrast, in its Amended Complaint, Sharp alleges that Thomson SA manufactured CRTs
20   for use in color televisions. (FAC at ¶ 71.) Therefore, because the face of the Cheng, Yeh, and
21   Lee, et al. Indictments establish that they relate to an entirely different product market than the
22   one in which Thomson SA is alleged to have participated, the filing of these indictments did not
23   toll the statutes of limitations for Sharp’s claims against Thomson SA. Novell, Inc. v. Microsoft
24   Corp., 505 F.3d 302, 320-22 (4th Cir. 2007) (holding that government action tolling does not
25   apply when government action and private suit relate to different markets). While the Lin
26   Indictment does allege that the defendant conspired to fix the price of CPTs used in televisions, it
27   makes clear that all of Mr. Lin’s alleged anticompetitive activities occurred in Asia.         (See
28   Thomson Consumer’s Mot. to Dismiss at 16.) By contrast, Sharp alleges that Thomson SA
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 1   operated in Europe, so comparison of the two complaints on their faced does not establish a
 2   significant overlap between the two actions. Novell, Inc., 505 F.3d at 320-22. Moreover, the
 3   purpose of government tolling – to assist private litigants in utilizing any benefits they might cull
 4   from government antitrust actions – has no application here because there is no reason to believe
 5   that Sharp has utilized or relied on the Lin Indictment in any way to prepare its claims. Instead,
 6   any alleged reliance on the Lin Indictment is a “mere sham” designed to allow it to indefinitely
 7   toll the statute of limitations for its inexcusably late claims. (See Thomson Consumer’s Mot. to
 8   Dismiss at 17.) Finally, none of Sharp’s state law claims are not preserved by 15 U.S.C. § 16(i).
 9   (Id.)
10                In sum, the statutes of limitations on all of Sharp’s claims expired several years before
11   it filed its inexcusably late claims and it does not plead specific facts that establish a plausible
12   basis for tolling the statutes of limitations. Therefore, all of Sharp’s claims against Thomson SA
13   are time-barred and should be dismissed with prejudice.
14           C.        Sharp Otherwise Fails to Plead Viable Claims.
15           As detailed in Thomson Consumer’s Motion to Dismiss the FAC, Sharp fails to state
16   viable claims because: (1) Sharp lacks standing to bring its federal and certain state law claims
17   under Associated General Contractors and Illinois Brick; (2) Sharp fails to state a claim under
18   N.Y. Gen. Bus. Law § 349; and (3) Sharp’s New York and New Jersey state law claims offend
19   due process and do not satisfy constitutional standing requirements. The arguments and legal
20   authority that support dismissing Sharp’s claims on these grounds are set forth in Thomson
21   Consumer’s Motion to Dismiss and incorporated by reference herein. (See Thomson Consumer’s
22   Mot. to Dismiss at 17-25.)
23           Finally, this Court lacks subject matter jurisdiction over Sharp’s claims against Thomson
24   SA because it alleges Thomson S.A participated in a foreign conspiracy, but does not allege
25   sufficient facts to show that Thomson SA’s alleged foreign conduct caused “a direct, substantial,
26   and reasonably foreseeable effect” on U.S. commerce. Foreign Trade Antitrust Improvements
27   Act of 1982, 15 U.S.C. § 6(a) (“FTAIA”).
28
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 1          The FAC alleges that Thomson SA participated in an alleged foreign conspiracy involving
 2   foreign meetings attended by residents of foreign countries and indicates “Defendants’ allegedly
 3   illegal combination activities . . . took place [in] locales other than the United States” and
 4   “targeted and affected Defendants’ entire world trade . . . rather than aiming primarily at the
 5   United States market.” Animal Sci. Prods., Inc. v. China Nat’l Metals & Minerals Imp. & Exp.
 6   Corp., 596 F. Supp. 2d 842, 869 (D.N.J. 2008). The named defendants and co-conspirators are
 7   overwhelmingly residents of foreign countries, including Japan, South Korea, China, Taiwan,
 8   Malaysia, Indonesia, Hong Kong, the Netherlands, France, India, and elsewhere. Sharp alleges
 9   that these entities were represented at hundreds of meetings, most of which took place in Asia or
10   occasionally in Europe or South America (FAC at ¶¶ 7, 136, 146, 148, 156, 158) and that the
11   foreign conduct had an indirect and attenuated effect in the United States in that “[t]he overall
12   CRT conspiracy set and/or affected worldwide prices (including prices in the United States).”
13   (Id. at ¶ 153.) However, a trickle-down effect in the United States is insufficient to ground
14   jurisdiction under the FTAIA. See Dee-K Enters. Inc. v. Heveafil Sdn. Bhd, 299 F.3d 281, 295
15   (4th Cir. 2002). The FAC does not plead facts that plausibly suggest Thomson SA’s alleged
16   participation in foreign meetings regarding global CRT-markets had anything “more than what
17   courts have termed a ‘ripple effect’ on the United States domestic market” – and effect that is
18   insufficient under the FTAIA. See In re Intel Microprocessor Antitrust Litig., 452 F. Supp. 2d
19   555, 559-60 (D. Del. 2006) (dismissing antitrust claims based primarily on foreign conduct).
20   Sharp cannot save its claims against Thomson SA with boilerplate allegations that the alleged
21   conspiracy “had a direct, substantial, and reasonably foreseeable effect on United States domestic
22   commerce” (FAC ¶ 12) or “affected billions of dollars of commerce throughout the United
23   States” (FAC ¶ 8). See, e.g., Animal Sci. Prods., Inc., 596 F. Supp. 2d at 876-77. Sharp’s claims
24   against Thomson SA should therefore be dismissed for lack of subject matter jurisdiction. 5
25
     5
26     Because this Court lacks subject matter jurisdiction over Sharp’s claim under federal law, its
     claims under state law should also be dismissed since the application of state law to foreign
27   conduct would infringe upon the federal government’s supreme power to regulate foreign
     commerce. See In re Intel Microprocessor Antitrust Litig., 476 F. Supp. 2d 452, 457 (D. Del.
28   2007) (holding that, where the jurisdictional prerequisites of the FTAIA are not fulfilled,
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 1                                         CONCLUSION
 2          Thomson SA is a French corporation that has never manufactured, sold, or distributed
 3   CRTs or CRT products in the United States. It has not owned any entities that manufacture CRTs
 4   or CRT products since 2005. Because Thomson SA is not subject to personal jurisdiction in this
 5   forum and Sharp’s claims against it are inexcusably late, Sharp’s claims against it should be
 6   dismissed with prejudice.
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27   “Congress’ intent would be subverted if state antitrust laws were interpreted to reach conduct
     which the federal law could not.”).
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     NOTICE OF MOTION AND MOTION TO DISMISS    26                      No. 07-5944-SC; MDL No. 1917
     SHARP’S FIRST AMENDED COMPLAINT
     Case 4:07-cv-05944-JST Document 2235-3 Filed 11/25/13 Page 35 of 36



 1   Dated: November 25, 2013                  Respectfully submitted,
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     NOTICE OF MOTION AND MOTION TO DISMISS   27                         No. 07-5944-SC; MDL No. 1917
     SHARP’S FIRST AMENDED COMPLAINT
     Case 4:07-cv-05944-JST Document 2235-3 Filed 11/25/13 Page 36 of 36



 1                               UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4

 5    RE CATHODE RAY TUBE (CRT)                        No. 07-cv-5944-SC
                                                       MDL No. 1917
 6   ANTITRUST LITIGATION,
 7                                                     [PROPOSED] ORDER GRANTING
     This Document Relates to:                         THOMSON SA’S MOTION TO
 8                                                     DISMISS SHARP’S FIRST AMENDED
     Sharp Electronics Corp, et al. v. Hitachi,        COMPLAINT
 9   Ltd., et al., No. 13-cv-001173
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12          Upon consideration of the Thomson SA’s Notice of Motion and Motion to Dismiss
13   Sharp’s First Amended Complaint and supporting Memorandum of Authorities, it is hereby
14          ORDERED that the Thomson SA’s Motion to Dismiss Sharp’s First Amended Complaint
15   is GRANTED, and the claims against Thomson SA in Sharp’s First Amended Complaint are
16   dismissed WITH PREJUDICE.
17          IT IS SO ORDERED.
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19   DATED:
                                                  Hon. Samuel Conti
20                                                United States District Judge
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     [PROPOSED] ORDER GRANTING MOTION TO                                 No. 07-5944-SC; MDL No. 1917
     DISMISS SHARP’S FIRST AMENDED
     COMPLAINT
